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                                    #:1539


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 13
                          UNITED STATES DISTRICT COURT
 14
                        CENTRAL DISTRICT OF CALIFORNIA
 15

 16
      MARVEL CHARACTERS, INC.,                  Case No. 2:21-cv-07624-DMG-KES
 17
                        Plaintiff,              JOINT STIPULATION FOR
 18                                             DISMISSAL WITH PREJUDICE
            v.
 19                                             District Judge: Hon. Dolly M. Gee
      MICHELE HART-RICO and BUZ                 Magistrate Judge: Hon. Karen E. Scott
 20   DONATO F. RICO III,
 21                     Defendants.
 22
      MICHELE HART-RICO and BUZ
 23   DONATO F. RICO III,
 24                     Counterclaimants,
 25         v.
 26   MARVEL CHARACTERS, INC. and
      DOES 1-10, inclusive,
 27
                   Counterclaim-Defendants.
 28
                                                                   JOINT STIPULATION FOR
                                                               DISMISSAL WITH PREJUDICE
Case 2:21-cv-07624-DMG-KES      Document 68     Filed 06/09/23   Page 2 of 4 Page ID
                                     #:1540


  1                                     STIPULATION
  2         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff and
  3   Counterclaim-Defendant Marvel Characters, Inc., on the one hand, and Defendants
  4   and Counterclaimants Michele Hart-Rico and Buz Donato F. Rico III, on the other,
  5   by and through their undersigned counsel, hereby stipulate that this action and all
  6   claims, including all counterclaims, and defenses asserted therein, be dismissed
  7   with prejudice, with each party bearing its own attorneys’ fees, costs, and expenses.
  8

  9   Dated:              May 18 , 2023          O’MELVENY & MYERS LLP
 10

 11
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 27                                              Attorneys for Marvel Characters, Inc.
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                                                                      JOINT STIPULATION FOR
                                               -2-                 DISMISSAL WITH PREJUDICE
Case 2:21-cv-07624-DMG-KES   Document 68    Filed 06/09/23     Page 3 of 4 Page ID
                                  #:1541


  1   Dated:            May 19, 2023         TOBEROFF & ASSOCIATES, P.C.
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                                             Buz Donato F. Rico III
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                                                                   JOINT STIPULATION FOR
                                           -3-                  DISMISSAL WITH PREJUDICE
Case 2:21-cv-07624-DMG-KES       Document 68      Filed 06/09/23   Page 4 of 4 Page ID
                                      #:1542


  1         Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer attests that all other
  2   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
  3   content and have authorized the filing.
  4

  5

  6
      Dated:              June 9, 2023            O’MELVENY & MYERS LLP

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  8                                               By:
                                                              Daniel M. Petrocelli
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                                                                        JOINT STIPULATION FOR
                                                -4-                  DISMISSAL WITH PREJUDICE
